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March 9, 2015

Align Technology Announces Next Generation iTero(R) Element(TM) Intraoral Scanner

Significantly Smaller Form Factor and Faster Scan Speed Enhances User Experience

COLOGNE, GERMANY and SAN JOSE, CA -- (Marketwired) -- 03/09/15 -- Align Technology, Inc. (NASDAQ: ALGN) today
                                                                            th
announced its next generation iTero Element Intraoral Scanner at the 36 International Dental Show in Cologne, Germany.
The iTero Scanner is synonymous with high-precision intraoral scanning and this announcement expands Align's market
leading scanning system with improved imaging technology that is designed to enable significantly faster scan speed,
accuracy, intuitive operation, and exceptional visualization capabilities. To date, iTero scans have been used in more than 1.2
million restorative crown, bridge, and custom implant cases and more than 1.3 million iTero orthodontic scans, including more
than 600,000 Invisalign® scans. The iTero Element Intraoral Scanner is engineered to deliver everything that doctors
appreciate about the iTero Scanner but in a more compact footprint with even greater capabilities.

"We have combined the accuracy and broad clinical indications of the iTero scanner's advanced capabilities with a simple and
intuitive system that is designed to deliver an unparalleled customer experience," said Timothy A. Mack, Align Technology vice
president business development and general manager of iTero. "The development of the iTero Element scanner is a further
step towards our vision of digital dentistry and providing our customers with best in class digital services."

New Smaller Design with Enhanced Wand and Display Features
The new iTero Element Scanner is designed to offer two compact space-saving form factors, a 40% smaller and lighter wand
that features built-in controls and a 19" high-definition, multi-touch display, and integrated gyro technology for rotation of
models on screen. In addition, the ITO defogging system instantly defogs the wand.

Designed for Faster Scan Speed and Enhanced User Experience
The new image sensor is engineered to enable 20X faster scan speed with color scanning to easily distinguish between
gingival and dental tissue for more precise clinical evaluation. Additionally, iTero Element scans are designed to work with the
existing iTero orthodontic and restorative workflows, including laboratory workflows, custom milled models, open STL export,
custom implant abutment and chairside milling partners.

Exclusive Integration of Invisalign Treatment Application
Designed to offer the best workflow to the Invisalign system, iTero Element includes the Invisalign Outcome Simulator, an
exclusive chair-side application that allows doctors to help patients visualize how their teeth may look at the end of Invisalign
treatment.

Availability of the iTero Element Intraoral Scanner is expected in the second half of 2015.

About Align Technology, Inc.
Align Technology is the leader in modern clear aligner orthodontics that designs, manufactures and markets the Invisalign®
system, which provides dental professionals with a range of treatment options for adults and teenagers. Align also offers the
iTero 3D digital scanning system and services for orthodontic and restorative dentistry. Align was founded in March 1997 and
received FDA clearance to market the Invisalign system in 1998. Visit www.aligntech.com for more information.

For additional information about the Invisalign system or to find an Invisalign provider in your area, please visit
www.invisalign.com. For additional information about the iTero 3D digital scanning system, please visit www.itero.com.

Source: Align Technology

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